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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

Criminal No.
09-40027-FDS

                             UNITED STATES OF AMERICA


                                              v.


                  WILLIAM SCOTT DION, CATHERINE FLOYD,
               CHARLES ADAMS, GAIL THORICK, MYRON THORICK,
                 GARY ALCOCK and KENNETH SCOTT ALCOCK


             REPORT AND RECOMMENDATION ON MOTION FOR FUNDS

                                    December 14, 2009
DEIN, M.J.

       This case involves a 20-count indictment for conspiracy in violation of 18 U.S.C.

§ 371, tax evasion in violation of 26 U.S.C. § 7201, filing false tax returns in violation of

26 U.S.C. § 7206(1), obstructing the IRS in violation 26 U.S.C. § 7212(a), and willful

failure to file tax returns in violation of 26 U.S.C. § 7203. There are seven defendants,

five of whom have court-appointed counsel. Gary Alcock has retained his own counsel.

Charles William Adams has refused to file a financial affidavit and request court-

appointed counsel, or to retain his own counsel, so he is appearing pro se. The matter

is before this court on the “Motion for Funds for Scanning of Discovery Documents,” by

which the defendants are seeking $27,913.00 to scan approximately 285,000 docu-

ments into searchable PDF files and then to load those documents onto a hard drive.
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(Docket No. 68). Although filed on behalf of the defendant Catherine Floyd,1 the

motion seeks to have the documents scanned onto a hard drive, with duplicate copies

made for each defendant. For the reasons detailed herein, this court recommends that

the motion be allowed, and that the requested costs ($27,913.00) be shared among the

five defendants with court-appointed counsel: William Scott Dion, Catherine Floyd, Gail

Thorick, Myron Thorick and Kenneth Scott Alcock.

        This is a complex tax-evasion case. The government is prepared to produce

searchable computer discs containing the documents from approximately 20 boxes.

There are an additional 134 boxes of discovery materials. These materials are not

catalogued, and cannot be searched in their present form except by a page-by-page

review. This would be prohibitively expensive and time consuming.

        The defendants undertook a search to find a company, acceptable to the

government, to scan the documents onto a hard drive in a searchable form. Bids were

taken from three companies. The least expensive company was Williams Lea, who

submitted a bid of $27,913.00. Williams Lea would scan approximately 285,000

documents into searchable PDF files, and then put the documents onto a hard drive. A

copy of the hard drive can be made for each defendant. The cost for copying the hard

drive is minimal – the major expense is scanning the documents onto the hard drive

initially.

        In this court’s view, the defendants have cooperated with each other, and have



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           This court appointed Ms. Floyd’s counsel as lead defense counsel on the most
efficient way to review/copy the voluminous documents in this case.

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done a thorough job researching the available options. All parties agree that all the

documents should be available for review by the defendants. The question is how to

make the review of such documents economically feasible. In this court’s view, the

proposed option is very appropriate, and would allow the prompt review of the material

once the documents were scanned.

      Any one of the defendants with court-appointed counsel would be entitled to

review all of the documents being produced. Dividing the cost between five defendants

would be beneficial to the court. Gary Alcock, who has retained private counsel, has

represented to the court through counsel that he does not have funds to contribute to

the costs of scanning. Similarly, Charles Adams. who is appearing pro se, has

represented that he does not have available funds either.

      Therefore, this court recommends to the District Judge to whom this case is

assigned that the Motion for Funds for Scanning of Discovery Documents be

ALLOWED, and that the cost ($27,913.00) be divided between William Scott Dion,

Catherine Floyd, Gail Thorick, Myron Thorick and Kenneth Scott Alcock.

                                                   / s / Judith Gail Dein
                                                 JUDITH GAIL DEIN
                                                 United States Magistrate Judge




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